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                 EXHIBIT 4
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                                                                                            Page 1


     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
                           -- -- -- --- x
     VIRGINIA L. GIUFFRE,


                           Plaintiff,
                                                                    Case No . :
             -agains t -                                            15 - cv-07433 - RWS


     GHISLAINE MAXWELL ,


                           Defendants .


     -   -   -    -    -   -   -   -   -    -   -   -   -   -   -   -   -   -   -   -   X



                                           **CONFIDENTIAL**


                     Videotaped deposition of GHISLAI NE
                 MAXWELL, taken pursuant t o subpoena , was
                 held at the law offices of BOIES
                 SCHILLER          &   FLEXNER, 575 Lexington
                 Avenue, New York, New York , commencing
                 April 22, 2016, 9 : 04 a . rn., on the above
                 date, before Leslie Fagin, a Court
                 Reporter and Notary Public in the State
                 of New York .



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                  1200 Avenue of the Americas
                      New York, New York 10026




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                                                                Page 2
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19             LAURA A. MENNINGER , ESQUIRE
20
21   Also Present:
22       James Christe, videographer
23
24
25




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 2         A.     She was tasked to answer
 3   telephones .
 4         Q.     Did you ever ask her to rub
 5   Jeffrey's feet?
 6                MR. PAGLIUCA :   Objection to the

 7         form and foundation.

 8         A.      I believe that I have read that,
 9   but I don't have any memory of it.
10         Q.      Did you ever tell -           that she
11   would get extra money if she provided Jeffrey
12   massages?
13         A.      I was a lways happy to give career
14   advice to people and I think that becoming
15   somebody in the healthcare profession, ei t her
16   exercise instructor or nutritionist or
17   professional massage therapist is an
18   excellent job opportunity .       Hourly wages are
19   around 7, 8, $9 and as a professional
20   healthcare provider you can earn somewhere
21   between as we have established 10 0 to $200
22   and to be able to travel and have a job that
23   pays that is a wonderful job opportunity.           So
24   in the context of advising people for
25   opportunities for work, it is possible that I




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 2   would have said that she should explore that

 3   as an option.

 4          Q.      Did you tell her she would get

 5   extra money if she massaged Jeffrey?

 6          A.      I'm just saying, I cannot recall

 7   the exact conversation .         I give career advice
 8   and I have done that.

 9          Q.      Did you ever have             massage

10   you?

11          A.      I did.

12          Q.      How many times?

13          A.      I don't recall how many t i mes.

14          Q.      Was there sex involved?

15          A.      No.

16          Q.      Did you ever instruct              to

17   massage

18          A.      I don ' t believe - - I have no

19   recollection of it.

20          Q.      Did you ever have sexual contact

21   with

22                  MR. PAGLIUCA:     Object to the form

23          and foundation.      You need to give me an

24          opportunity to get in between the

25          questions.




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                                                               Page 62
 1               G   Maxwell - confidential
 2                   Anything that involves consensual

 3          sex on your part, I'm ins t ructing you

 4          not to answer.

 5          Q.       Did you ever have sexual contact

 6   with

 7          A.       Again, she is an adult --

 8          Q.        I ' m asking you, did you ever have

 9   sexual contact with

10          A.        I ' ve just been instructed not to

11   answer.

12          Q.       On what basis?

13          A.       You have to ask my lawyer.

14          Q.       Did you ever have sexual contact

15   wi th -               that was not consensual on

16                   part?

17                   MR. PAGLIUCA:      You can answer

18          nonconsensual.

19          A.       I ' ve never had nonconsensual sex

20   wi th anybody.

21          Q.       Not

22                   MR. PAGLIUCA:      Objection.

23          A.       I just testified I never had

24   nonconsensual sex with anybody ever, at any

25   time, at anyplace, at any time, with anybody.




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